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Case 4:11-cv-00093-Y Document1 Filed 02/07/11 Page1of2
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IN THE UNITED STATES DISTRICT COURT FOR HE
NORTHERN DISTRICT OF TEXAsS cre -7 py 99

  
 

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NAL DALLAS DIVISION oN
PLAINTIFF
VS CIVIL ACTION NUMBER
DEFENDANT (S)

$-1L1CV0233-K

City of Arlington, Arlington Police
National Football League

CIVIL ACTION LAWSUIT

Charges against the City of Arlington, Arlington
Police Department and the NFL for
Racial Harassment, Racial Profiling, Racial
Discrimination, Police Bullying
and False charges of Ambush Marketing

Violation of the 1964 Civil Rights Act

Racial harassment, Racial Profiling, Racial Discrimination, Police
Bullying is illegal. Everyone has the right to live without fear of
attack against themselves or their home or property. Several

Officers were dispatched from the City of Arlington Code and

Compliance department, the City of Arlington Police department

 

 
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and the NFL to disrupt my approved anti-bullying campaign
page I |

Located on my private bus which was in a parked position at
Lincoln Square in Arlington, Texas prior to Super Bowl kick-off
on February 6, 2011. They boarded my private bus illegal without
my permission, they demanded my identification, wrote down my

License plate number, took photos of my bus and verbally

assaulted me,

Later, they paraded me around in front of thousands of Super Bowl
fans as if I was a terrorist, three times they sent several squad cars
with flashing lights and sirens and later accused me and gave me a
citation for "Ambush Marketing" all the while threaten me with
arrest. They also said, "I would need to vacate the property within
30 minutes of their departure and if not upon there return, they
would have me arrested and my bus towed away from the parking

lot at my expense."

They also indicated if I did not show up to court for the citation

that was issued for "Ambush Marketing" a warrant will be issued

 

 
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for my arrest and a $500 fine would be assessed. Page 2

My Civil rights were violated because they targeted me as an
African-American who owns a 45 foot long mobile educational
media and gamming lab Bus. The exterior vehicle wrap of the bus

features images of black hip hop stars, a local 97.9 DJ and myself.

These images are used as an attraction to capture the students
hearts and minds that are enrolled in my after-school mentoring
program. I teach educational music video production to students of
all races and ages. All four sides feature black faces. At the time of
the confrontation, the bus was positioned about 2 blocks from the
Stadium in the heart of the Super Bowl traffic with a mostly white

street audience.

Pam Dawson, the property manager for Lincoln Square who
happens to be white, indicated to me, "the officers said to her the
signage on the bus that features all black faces was offensive and

the bus should be removed from the parking lot."

This was their justification for their harassment and citation.

 
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| Page 3

A similar bus/truck also had a vehicle wrap and was positioned
within a few hundred feet of my vehicle promoting Plains Bank, a
white owned bank. In addition, Coors beer had a similar banner
opposite of my lab posted on an exterior wall of the Ross
department store. Neither of these white businesses were

targeted for their so called "Clean Zone" ambush marketing charge

nor given a ticket and told to leave or be removed from the lot.

In addition, there were thousands of white scalpers roaming the

same parking lot but was not targeted.

The Civil Rights Act of 1964 bans discrimination based on race,
color, religion, gender or national origin. Included in the Act were
the prohibition of discrimination in hotels, motels and prohibition
of government agencies from denying access to public facilities

on the basis of race, religion, gender or ethnicity and the

prevention of discrimination by government agencies that receive

 
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federal funding.
Page 4

These federal agencies caused extreme humiliation, embarrassment

threatening confrontations and intimidation to my staff and me.

This confrontation was witnessed by hundreds of thousands of
people in the area as they bullied me by racially profiling me and
causing damage to my reputation and revenue while the World

media was present.

This unfair treatment conducted by these law officials, included
but not limited to excessive show of force, racial profiling and

Coercion.

They specifically targeted me and my bus because of my race with
their words and actions designed to make me feel degraded and

defeated.

They also invited a response from me for ensnarement purposes by

engaging in overly loud and threatening conversations with me

during there three visits to my bus.

 

 
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Page 5

The threat of arrest if I did not remove my bus caused me to pack
up and leave prior to Super Bowl kick-off after having my bus

present there for the past 3 days in the same spot.

There have been numerous documented past cases involving racial
harassment and discrimination in Arlington, Texas and this is just |
another example of why there is a need for light to be shed on this
case and other racial activities that have been administered by the

City of Arlington and its police department.

I am suing the City of Arlington because they directed their code
and compliance officers to pursue and racially harass me. I am
suing the Arlington Police for carrying out the City of Arlington

directive to racially profile me.

I am suing the NFL for establishing the climate, environment and

City of Arlington ordinance that lead to the "Clean Zone"

confrontation that was the epicenter for the Racial Harassment,

 
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Page 6

Racial Profiling, Racial Discrimination, Police Bullying and False

charges of Ambush Marketing.

Best Buy and Lincoln Square were both partners who allowed my

Anti-bullying campaign to be staged in their private lot.

On numerous occasions during the confrontation, the property
manager for Lincoln Square and Best Buy managers were
summoned to the confrontation scene and they informed the |
officers on three occasions that I had complete support and
approval and no need for a permit from the owners of the property

or the city to have my bus position in their lot.

However, the officers still demanded I vacate the property
immediately because of the so-called offensive signage on my bus

or face arrest and I was given a ticket to appear in court with the

threat of a possible warrants.

 

 
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Page 7

JURY DEMAND
Eric Williams demands a trial by jury on all claims and issues for a

Jury to render a judgment.
PRAYER

WHEREFORE, Eric Williams prays for the entry of judgment as

follows:

A. Certify the putative damages

B. A judgment in favor of Eric Williams

C. Declare the Defendants practices, as described
herein, violate the Civil Rights Act of 1964

D.A judgment awarding Eric Williams
disbursement incurred in conjunction with this
action, including reasonable attorney’s fees,
expert witness fees and other cost:

E. A judgment granting extraordinary equitable
relief as permitted by law or equity of
$1,500,000.00

F. A judgment granting declaratory and injunctive
relief and all relief. .

G. Request that Court retain jurisdiction on an
ongoing basis in order to ensure and, where
necessary enforce compliance.

Dated: February 7, 2011 oF Submitted,
As

Eric Williams

Pro Se

 
SS bef O

Ase 4:11-cv-00093-Y Document1 Filed 02/07/11 Page9of25 PagelD9

Out The Box Entertainment

Presents:

“MITS”

The 411 MENTORING Project

Mobile Industrial Technology Studio

Pilot Project

 

WWW.OTBONDEMAND.COM

 

 
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O of 25. PagelD 10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

  
 

 

 

 

 

 

 

 

 

 

 

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READ INSTRUCTIONS ON BACK OF CITATION

 

 

 

PRINT CENTRAL, INC. AR300SC-0909

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972-748-9533
169 Boca Raton Way
Lancaster, Texas 75146

Exhibit A- Email confirmation for approving the bus
I'm here till 4 today so it maybe better tomorrow.
T'll be here from 2-10 tomorrow.

Be Open - Be Immediate - Be Curious - Be Present -
Be Positive - Be Committed - Be Consistent

Herb Asanarong

Customer Solutions Manager
North Arlington TX (Store 794)
200 Lincoln Sq

Arlington, TX 76011
Phone: 817-795-1401

 

From: Eric Williams [mailto:gamefamebus@yahoo.com]
Sent: Wed 1/19/2011 4:24 PM

To: Asanarong, Herb

Subject: RE: Superbowl event

Yes, 6-10 on thurs and friday and 10 to 10 on Sat
and Sunday. Can we meet either tomorrow or friday.
I came by your store but they said you were off
today. I am confirmed with Pam and have a green
light to park the bus. Look forward to hearing back

--- On Wed, 1/19/11, Asanarong, Herb
<Herb.Asanarong@bestbuy.com> wrote:

 
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From: Asanarong, Herb
<Herb.Asanarong@bestbuy.com>

Subject: RE: Superbowl event

To: "Eric Williams" <gamefamebus@yahoo.com>

Date: Wednesday, January 19, 2011, 9:37 PM

So is it for sure 6-10 Eric? I agree with the
time, but I need to confirm so I can be on the same
page with you.

Be Open - Be Immediate - Be Curious - Be
Present - Be Positive - Be Committed - Be
Consistent

Herb Asanarong

Customer Solutions Manager
North Arlington TX (Store 794)
200 Lincoln Sq

Arlington, TX 76011
Phone: 817-795-1401

 

From: Eric Williams
[mailto:gamefamebus@yahoo.com]

Sent: Wed 1/19/2011 6:19 AM

To: Asanarong, Herb

Subject: RE: Superbowl event

I had two times in mind 1. 10 -6 the other 6-
10 i am leaning more for 6-10 because of the work
schedule but if you have any better ideas i am
open. Thanks, Eric

 
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--- On Wed, 1/19/11, Asanarong, Herb
<Herb.Asanarong@bestbuy.com> wrote:

From: Asanarong, Herb
<Herb.Asanarong@bestbuy.com>

Subject: RE: Superbowl event

To: "Eric Williams" <gamefamebus@yahoo.com>

Date: Wednesday, January 19, 2011, 4:32 AM

What are the times for those days Eric?

Be Open - Be Immediate - Be Curious - Be
Present - Be Positive - Be Committed - Be
Consistent

Herb Asanarong

Customer Solutions Manager
North Arlington TX (Store 794)
200 Lincoln Sq

Arlington, TX 76011
Phone: 817-795-1401

 

From: Eric Williams
[mailto:gamefamebus@yahoo.com]

Sent: Mon 1/17/2011 6:45 PM

To: Asanarong, Herb

Subject: RE: Superbowl event

Greetings. Pam. Great to speak with you on
today. The dates in which we I would like to hold

 

 
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the Madden 11 tourney is Jan 27,28,29, 30 = Feb

. 3,4,5. The bus is 40 feet long and self contained.
I have placed some links about me and my bus
program that have appeared on local and national
television. I plan to do the same type of coverage
for our event. I look forward to meeting with you
this week to finalize the details. If you have any
question please feel free to call me at 972-748-
9533. Eric Williams, CEO Out The Box.

most recent news coverage- This week FOX
http: //www.myfoxdfw.com/dpp/news/011211-
dallas-kids-write-and-perform-anti-bullying-video#

http://www. youtube.com/ntrboyz#p/u/4/60hAS2v0OLeA -
ABC ,

http://www. youtube.com/ntrboyz#p/u/8/LNQXeEurddE
—-CNN

http://www. youtube.com/ntrboyz#p/u/10/hdi8HoP- —
PVs —FOX

http://www. youtube.com/ntrboyz#p/u/11/rceZZLaM8gKk0
-NBC ,

http://www. youtube.com/ntrboyz#p/u/12/YWkJ4ZqzhwyY -
ABC

http://www. youtube.com/ntrboyz#p/u/14/4Hul1TOmII8
-- NBC

 

 
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http://www. youtube.com/ntrboyz#p/u/1/YOXV607Nz2I -
-XBOX Music video

--- On Mon, 1/17/11, Asanarong, Herb
<Herb.Asanarong@bestbuy.com> wrote:

From: Asanarong, Herb
<Herb.Asanarong@bestbuy. com>

Subject: RE: Superbowl event

To: "Eric Williams"
<gamefamebus@yahoo.com>

Cec:
pamdawson@lincolnsquarearlington.com

Date: Monday, January 17, 2011, 8:12 PM

Eric,
Please give Pam a call at 817-501-9667.

Thank you,

Be Open - Be Immediate - Be Curious -
Be Present - Be Positive - Be Committed - Be
Consistent

Herb Asanarong
Customer Solutions Manager

North Arlington TX (Store 794)
200 Lincoln Sq

Arlington, TX 76011

Phone: 817-795-1401

 

 

 
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From: Asanarong, Herb

Sent: Thu 1/13/2011 10:01 AM
To: Eric Williams

Subject: RE: Superbowl event

I never got it Eric. Please resend.

Thank you,

Be Open - Be Immediate - Be Curious -
Be Present - Be Positive - Be Committed - Be
Consistent

Herb Asanarong

Customer Solutions Manager

North Arlington TX (Store 794)

200 Lincoln Sq

Arlington, TX 76011
Phone: 817-795-1401

 

From: Eric Williams
[mailto:gamefamebus@yahoo.com]

Sent: Thu 1/13/2011 7:25 AM

To: Asanarong, Herb

Subject: Re: Superbowl event

I'm glad you recieved the proposal.
The first time I sent the proposal it came back.
Great! look forward to talking on friday/ Thanks,
Eric 972-748-9533.

--- On Thu, 1/13/11, Asanarong, Herb

 

 
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<Herb.Asanarong@bestbuy.com> wrote:

From: Asanarong, Herb
<Herb.Asanarong@bestbuy.com>

Subject: Superbowl event

To: gamefamebus@yahoo.com

Date: Thursday, January 13, 2011,
2:50 AM

Any additional is greatly
appreciated.

Thank you,

Be Open - Be Immediate - Be Curious
- Be Present - Be Positive - Be Committed - Be
Consistent

Herb Asanarong
Customer Solutions Manager

North Arlington TX (Store 794)
200 Lincoln Sq

Arlington, TX 76011

Phone: 817-795-1401

With these info I'm thinking BEST BUY LOGO / GAME
FAME LOGO / GEEK SQUAD LOGO, and some how
incorporate our TRADE-IN promo on it too.

The outside should be poster banner style 10x10 and
10x15

 
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Be Open - Be Immediate-- Be Curious - Be Present —
Be Positive - Be Committed - Be Consistent
Herb Asanarong
Customer Solutions Manager
North Arlington TX (Store 794)

200 Lincoln Sq

Arlington, TX 76011
Phone: 817-795-1401

 

From: Eric Williams [mailto:gamefamebus@yahoo.com]
Sent: Tue 1/25/2011 4:57 PM

To: Asanarong, Herb

Subject: Fw: RE: Gamebus banner materials

Herb is the info. The banner on the inside of the
bus should be decal style that peels and paste. The
outside should be poster banner style 10x10 and
10x15

The inside measurements are 11x56" and 11x70"

Yes sir it is.

Herb Asanarong
Customer Solutions Manager

North Arlington Store 794

 
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200 Lincoln Sq
Arlington, TX 76011

(817) 795-1401 direct

(817) 276-5462 fax

----- Original Message -----

From:Eric Williams <gamefamebus@yahoo.com>
To:HerbAsanarong <Herb.Asanarong@bestbuy.com->
Sent:1/26/2011 9:48 AM

Subject:Re: FW: proof

Great! Just one question. Is this new high res of
the last logo I sent? I can't really tell. However,
if not could you have them replace with the high
res. It looks good. Let's roll with it. Thanks,
Eric.

--- On Wed, 1/26/11, Asanarong, Herb
<Herb.Asanarong@bestbuy.com> wrote:

From: Asanarong, Herb <Herb.Asanarong@bestbuy.com>
Subject: FW: proof ©

To: gamefamebus@yahoo.com

Date: Wednesday, January 26, 2011, 2:19 PM

What do you think Eric?

Be Open - Be Immediate - Be Curious - Be Present -
Be Positive - Be Committed - Be Consistent

Herb AsSanarong
Customer Solutions Manager
What do you think Eric?

Be Open - Be Immediate - Be Curious - Be Present -
Be Positive - Be Committed - Be Consistent

Herb Asanarong

 

 
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Customer Solutions Manager

North Arlington TX (Store 794)
200 Lincoln Sq

Arlington, TX 76011

Phone: 817-795-1401

 

From: Hernandez, Evangelina
Sent: Tue 1/25/2011 10:55 PM
To: Asanarong, Herb

Subject: proof

So here is what I came up with. Let me know if this
ok so I can get them to start printing asap.

Evangelina Hernandez

GNFR FSC

609 Enterprise Dr Ste 306

Flower Mound Texas 75028
214-412-6164 |
evangelina.hernandez@bestbuy.com

t3printshop@bestbuy.com

North Arlington TX (Store 794)

 

 
Case 4:11-cv-00093-Y Document1 Filed 02/07/11 Page 21o0f25 PagelD 21

200 Lincoln Sq
Arlington, TX 76011
Phone: 817-795-1401

 

From: Hernandez, Evangelina
Sent: Tue 1/25/2011 10:55 PM
To: Asanarong, Herb

Subject: proof

~So here is what I came up with. Let me know if this
ok so I can get them to start printing asap.

Evangelina Hernandez
GNFR FSC

609 Enterprise Dr Ste 306
Flower Mound Texas 75028

214-412-6164

evangelina.hernandez@bestbuy.com

 

 
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Case 4:11-cv-00093-Y Document1 Filed 02/07/11 Page 23 0f 25 PagelD 23

 

 
Case 4:11-cv-00093-Y Document1 Filed 02/07/11 Page 24o0f25 PagelD 24

Pix 6

 

 

 
 

Casey 11-cv-00093-Y Document1 Filed 02/07/11 Page 25o0f25 PagelD 25
“JS 44 (TXND Rev. 2/ CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of
initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

\
I. (a) NPY DEFENDANTS

( ity of Residence of First Listed Plaintiff { (a SC? County of Residence of First Listed Defendant he Land aN -

(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

: RECEIVED NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

(c) Attorney’s (Firm Name, Address, and Telephone Nimber) aio eys (If Known) .
FEB 7 20H $-11CV0 233 -K

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

i. BASIS OF JURISDICTION (Place an {X” @ Ong Rox Only) DISTRI +H---CITIZENSHIP OF PRINCIPAL PARTIES lace an “X” in One Box for Plaintiff
on NO RATHER N DI STRICT OF Div] brsity Cases Only) and One Box for Defendant)
(1 U.S. Government ©) 3 Federal Question OF TEXAS P PTF DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State Incorporated or Principal Place o4 a4

of Business In This State a

G2 US. Government 4 Diversity Citizen of Another State 42 © 2 Incorporated and Principal Place a as

Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State

Citizen or Subject of a 43 © 3. Foreign Nation G96 O86
Foreign Country

 

 

 

IV. NATURE OF SUIT (Place an“X” in One Box Onl

  
 

   

   
 

   

          

 

    

  
 
   

    

  
  

   

 

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130 Miller Act 315 Airplane Product Med. Malpractice O 625 Drug Related Seizure 28 USC 157 O 430 Banks and Banking
(7 140 Negotiable Instrument Liability O 365 Personal Injury - of Property 21 USC 881 O 450 Commerce
© 150 Recovery of Overpayment | 320 Assault, Libel & Product Liability 0 630 Liquor Laws TY I O 460 Deportation
& Enforcement of Judgnent Slander O 368 Asbestos Personal 1 640 RR. & Track O 820 Copyrights OQ 470 Racketeer Influenced and
7 151 Medicare Act [ 330 Federal Employers’ Injury Product O 650 Airline Regs. O 830 Patent Corrupt Organizations
O 152 Recovery of Defaulted Liability Liability 11 660 Occupational 840 Trademark 480 Consumer Credit
Student Loans 340 Marine PERSONAL PROPERTY Safety/Health O 490 Cable/Sat TV
‘ (Excl. Veterans) f} 345 Marine Product O 370 Other Fraud 1 690 Other (1 810 Selective Service
0 153 Recovery of Overpayment Liability 371 Truth in Lending SS ABO | SOCIAL SECURITY £10 850 Securities/Commodities/
of Veteran's Benefits O 350 Motor Vehicle {7} 380 Other Personal 1 710 Fair Labor S ards O 861 HIA (1395ff) Exchange
0 160 Stockholders’ Suits O 355 Motor Vehicle Property Damage Act CO) 862 Black Lung (923) 875 Customer Challenge
0 190 Other Contract Product Liability 385 Property Damage 1 720 Labor/Mgmt. Relations {1 863 DIWC/DIWW (405(g)) 12 USC 3410
0 195 Contract Product Liability {1 360 Other Personal Product Liability (1 730 Labor/Mgmt Reporting | 864 SSID Title XVI [890 Other Statutory Actions
o i Inj & Disclosure Act (7 865 RSI (405: J 891 Agricultural Acts
. RIGHE IONS (10) 740 Railway Labor Act - [ |) 892 Economic Stabilization Act
210 Land Condemnation 1 441 Voting (1 510 Motions to Vacate | 790 Other Labor Litigation 1 870 Taxes (U.S. Plaintiff 1 893 Environmental Matters
0 220 Foreclosure 1 442 Employment Sentence 791 Empl. Ret. Inc. or Defendant) 1 894 Energy Allocation Act
O 230 Rent Lease & Ejectment [0 443 Housing/ Habeas Corpus: Security Act O 871 IRS—Third Party © 895 Freedom of Information
(9 240 Torts to Land Accommodations ( 530 General 26 USC 7609 Act
0 245 Tort Product Liability O 444 Welfare (+535 Death Penalty | | 1 900Appeal of Fee Determination
0 290 All Other Real Property {11 445 Amer. w/Disabilities- | 540 Mandamus & Other [CJ 462 Naturalization Application Under Equal Access
Employment (I 550 Civil Rights © 463 Habeas Corpus - to Justice
© 446 Amer. w/Disabilities - | 555 Prison Condition Alien Detainee 1 950 Constitutionality of
laao one 465 Other Immigration State Statutes
440 Other Civil Rights Actions

 

 

 

 

 

¥. O#IGIN (Place an “X” in One Box Only) ‘Appeal to District
j Original  -0 2 Removed from 1 3° Remanded from C1 4 Reinstated or C5 ‘Transferred from 4 ¢ muttidistrict cy 7 Judge from

i another district : Magistrate
Proceeding State Court Appellate Court Reopened ~__(specify) Litigation Judgment

Cite the “y pt Statute under which you are filing (Do not te Ss ages unless diversity):
Lola 9p /FOY Ciel £) GATS Ae

Brief, iption of c : “ 7 ,
ares rm LAcial Hatassmesy, hacial heli, Pical Vscrimasth—, po rsf Masdel

VI. CAUSE OF ACTION

 

 

 

 

 

 

 

VII. REQUESTED IN 1 CHECK IF THI¢1S A CLASS ACTION DEMAND $ CHECK YES only if aa complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: Yes CINo
VIE. RELATED CASE(S) (See instructions)
PENDING OR CLOSED:
JUDGE DOCKET NUMBE
DATE 2 SIGNATURE OF ATTORNEY OF RECORD pL ¢
Z- F-2o1/ Cee pl _ Fete Se
FOR OFFICE USE ONLY

 

 

 

RECEIPT # AMOUNT APPLYING [FP tn JUDGE

MAG. JUDGE

 

 
